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                                                                                                            UNDER
                                                                                                              SEAL
                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                    PORTLAND DIVISION


UNITED STATES OF AMERICA                               3:19-cr-   ro3o-~-\3R_
               v.                                      INDICTMENT

KARANJIT SINGH KHATKAR and                             18 u.s.c.   § 1349;
JAGROOP SINGH KHATKAR                                  18 u.s.c.   § 1343;
                                                       18 U.S.C.   § 1028A;
               Defendants.                             18 U.S.C.   § 1956(h) and
                                                       18 u.s.c.   § 1957

                                                       Forfeiture Allegations


                               THE GRAND JURY CHARGES:

                             INTRODUCTORY ALLEGATIONS:

       1.      Defendants KARANJIT SINGH KHATKAR and JAGROOP SINGH

KHATKAR are citizens of the country of Canada and reside in British Columbia.

       2.      ADULT VICTIM 1 (hereinafter "AV 1") resides in the District of Oregon.

       3.      Bitcoin is a type of virtual currency. Its value, relative to fiat currency like the

United States Dollar, fluctuates over time. For example, bitcoin traded for approximately

$6,394.36 on July 14, 2018, and for approximately $6,746.56 on August 24, 2018.




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       4.      Each transaction with bitcoin, as well as other similar virtual transactions,

involves a broadcast over the bitcoin network and corresponding verification that involves

transmissions of writings, signs, and signals by wire in interstate and foreign commerce.

       5.      HitBTC is a platform used to exchange virtual currency, such as bitcoin. HitBTC

is based in Hong Kong. HitBTC provides a service for customers to create web-based "wallets"

to store virtual currencies, including bitcoin and others, and to make transactions with virtual

currency. Typically, customers of HitBTC initiate transfers of bitcoin and other virtual currencies

by using HitBTC' s website.

       6.      Kraken is a platform used to exchange virtual currency, such as bitcoin. Kraken is

based in the United States. Kraken provides a service for customers to create web-based

"wallets" to store virtual currencies, including bitcoin and others, and to make transactions with

virtual currency, including the purchase and sale of virtual currency with traditional fiat

currency. Typically, customers of Kraken initiate transfers of bitcoin by using Kraken' s website.

       7.      Bitcoin and other virtual currencies can also be held in wallets that are not web-

based, such as a desktop wallet where access to the virtual currency is stored locally on a

computer. While companies like HitBTC and Kraken may maintain information about who owns

an account with their service, an owner of a desktop wallet or other private wallet is generally

anonymous.

                                            COUNTl
                              (Conspiracy to Commit Wire Fraud)
                                       (18 u.s.c. § 1349)

       1.      The Introductory Allegations of this Indictment are incorporated herein.

       2.      Beginning on or about October 23 , 2017, and continuing until on or about August

24, 2018, within the District of Oregon and elsewhere, defendants KARANJIT SINGH


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KHATKAR and JAGROOP SINGH KHATKAR, and others, known and unknown to the

Grand Jury, did knowingly combine, conspire, confederate, and agree with each other to commit

wire fraud, to wit, they agreed to knowingly devise a scheme and artifice to defraud as to

material matters and to obtain money and property by means of false and fraudulent pretenses,

representations, promises, and omissions in violation of 18 U.S.C. § 1343.

                  MANNER AND MEANS AND SCHEME TO DEFRAUD

       3.      Defendants and others known and unknown to the Grand Jury used the following

manner and means to carry out the conspiracy and scheme to defraud:

       4.      It was part of the conspiracy and scheme to defraud that defendants used a Twitter

account using the name @HitBTCAssist to trick victims into thinking they were speaking to a

legitimate customer service representative for HitBTC.

       5.      It was part of the scheme to defraud that defendants, using the fraudulent Twitter

account @HitBTCAssist, responded to AVl ' s questions about withdrawing virtual currency

from her account with HitBTC.

       6.      It was part of the scheme to defraud that defendants convinced AVl to provide

means of identification and other information. Defendants used that information to log on and

take over AVl ' s email account, HitBTC account, and Kraken account.

       7.      It was part of the scheme to defraud that defendants used AV 1' s HitBTC account

and email account to fraudulently initiate transfers of AVl 's bitcoins to KARANJIT SINGH

KHATKAR's account at Kraken. Defendants also used AVl 's Kraken account to transfer

AVl ' s bitcoin to KARANJIT SINGH KHATKAR's Kraken account.

       8.      Through the conspiracy, defendants and their co-conspirators agreed to and did

cause the transmission of wires that traveled interstate and internationally including the use of


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communications over wire such as emails and messages on the Twitter platform, transfers of

money over wire, transfers of bitcoin over wire, and use of the internet to access websites

including the websites of email providers and bitcoin exchanges.

           All in violation of 18 U.S .C. § 1349.

                                              COUNTS2-6
                                              (Wire Fraud)
                                            (18 u.s.c. § 1343)

           1.       The Introductory Allegations, Count 1, and all prior paragraphs of this Indictment

are incorporated herein.

           2.       On or about the dates set forth in each Count below, in the District of Oregon and

elsewhere, defendants KARANJIT SINGH KHATKAR and JAGROOP SINGH

KHATKAR, together with others known and unknown to the Grand Jury, for the purposes of

attempting to execute and executing the material scheme to defraud described in Count 1, and to

obtain money and property by means of materially false and fraudulent pretenses,

representations, promises, and omissions, knowingly transmitted, or caused to be transmitted, by

means of wire and radio communications in interstate or foreign commerce, each transmission

constituting a separate count:

 Count                Date                               Description of Execution
       2          July 11 , 2018    Twitter message from @HitBTCAssist to AVl requesting
                                    means of identification
       3          July 11 , 2018    Twitter message from A Vl to @HitBTCAssist providing
                                    means of identification
       4          July 11 , 2018    Access to the email account of AV 1
       5          July 14, 2018     Access to the Kraken account of AVl
       6          July 14, 2018     Transfer of 23 .2 bitcoin from AVl account at HitBTC to
                                    KARANJIT SINGH KHATKAR's account at Kraken ·

           All in violation of Title 18 U.S.C. § 1343.

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                                           COUNTS 7-9
                                     (Aggravated Identity Theft)
                                        (18 U.S.C. § 1028A)

        1.       The Introductory Allegations, Counts 1 through 6, and all prior paragraphs of this

Indictment are incorporated herein.

        2.       On or about the dates set forth below in each Count, in the District of Oregon and

elsewhere, KARANJIT SINGH KHATKAR and JAGROOP SINGH KHATKAR did

unlawfully, knowingly, and intentionally transfer, possess, and use, without lawful authority, a

means of identification of another, knowing that the means of identification belonged to a real

person, during and in relation to felony violations of provisions contained in Chapter 63 of Title

18, to wit: Conspiracy to Commit Wire Fraud and Wire Fraud, in violation of 18 U.S.C. §§ 1343

& 1349.


 Count       Transaction             Means of Identification                 Felony Violations
                Date
    7        July 11 , 2018   AV 1 credentials to access AV 1's        18   U.S.C.   §   1349   (Count 1);
                              email account                            18   U.S.C.   §   1343   (Count 4)
    8        July 14, 2018    AV 1 credentials to access the Krak:en   18   U.S.C.   §   1349   (Count 1);
                              account of AV 1                          18   U.S.C.   §   1343   (Count 5)
    9        July 14, 2018    AV 1 credentials to transfer 23 .2       18   U.S.C.   §   1349   (Count 1);
                              bitcoin from AVl account at HitBTC       18   U.S.C.   §   1343   (Count 6)
                              to KARANJIT SINGH
                              KHATKAR's account at Krak:en

        All in violation of l 8 U.S .C. § 1028A.

                                              COUNT 10
                              (Conspiracy to Commit Money Laundering)
                                         (18 U.S.C. § 1956(h))

        1.       The Introductory Allegations, Counts 1 through 9, and all prior paragraphs of this

Indictment are incorporated herein.




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       2.      Beginning on or about October 23, 2017, and continuing until on or about August

24, 2018, within the District of Oregon and elsewhere, defendants KARANJIT SINGH

KHATKAR and JAGROOP SINGH KHATKAR, and others, known and unknown, did

knowingly combine, conspire, and agree with each other and with others, known and unknown,

to knowingly engage and to attempt to engage in monetary transactions by, through, or to a
                                                                                I




financial institution, affecting interstate and foreign commerce, in criminally derived property of

a value greater than $10,000 that was derived from a specified unlawful activity (Wire Fraud) in

violation of 18 U.S .C. § 1957.

                      MANNER AND MEANS OF THE CONSPIRACY

       3.      The manner and means used to accomplish the objectives of the conspiracy

included, among others, the following:

       4.      Beginning on or about October 23, 2017, and continuing until on or about August

24, 2018, within the District of Oregon and elsewhere, defendants KARANJIT SINGH

KHATKAR and JAGROOP SINGH KHATKAR engaged in the scheme to defraud described

in the preceding counts and obtained over 23 bitcoin from AVl.

       5.      Defendants then engaged in steps to transfer, sell, and convert the currency

through financial transactions alleged in Counts 11-16, each involving more than $10,000 of

proceeds from the material scheme to defraud .described in the preceding counts.

       All in violation of 18 U.S.C. § 1956(h).

                                        COUNTS 11-16
                                      (Money Laundering)
                                       (18 u.s.c. § 1957)

       1.      The Introductory Allegations, Counts 1 through 10, and all prior paragraphs of

this Indictment are incorporated herein.


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       2.      On or about the dates set forth below, in the District of Oregon and elsewhere,

defendants KARANJIT SINGH KHATKAR and JAGROOP SINGH KHATKAR did

knowingly engage and attempt to engage in the following monetary transactions by through or to

a financial institution, affecting interstate or foreign commerce, in criminally derived property of

a value greater than $10,000, that is the deposit, withdrawal, transfer, exchange of currency and

funds , such property having been derived from a specified unlawful activity, that is Wire Fraud

in violation of 18 U.S.C. § 1343, as more specifically identified below:

 Count Defendant(s)        Date       Monetary Transaction           Amount      Approximate
                                                                     Transferred Value in U.S.
                                                                                 Dollars
 11         KARANJIT       July 14,   Transfer of bitcoin from       7.9995      $50,910.90
            SINGH          2018       KARANJIT SINGH                 bitcoin
            KHATKAR                   KHATKAR's Kraken
            and                       account to JAGROOP
            JAGROOP                   SINGH KHATKAR's
            SINGH                     Kraken account
            KHATKAR
 12         KARANJIT       July 15,   Transfer of bitcoin from       3.6995         $24,936.66
            SINGH          2018       KARANJIT SINGH                 bitcoin
            KHATKAR                   KHATKAR's Kraken
            and                       account to JAGROOP
            JAGROOP                   SINGH KHATKAR's
            SINGH                     Kraken account
            KHATKAR
 13         KARANJIT       July 27,   Exchange of bitcoin for        24,990         $19,134.84
            SINGH          2018       Canadian currency              Canadian
            KHATKAR                                                  Dollars
 14         KARANJIT       July 31,   Exchange of bitcoin for        15,703.12      $12,067.85
            SINGH          2018       Canadian currency              Canadian
            KHATKAR                                                  Dollars
 15         KARANJIT       August     Exchange of bitcoin for        19,990         $ 15,378.31
            SINGH          22,20 18   Canadian currency          ;   Canadian
            KHATKAR                                                  Dollars
 16         KARANJIT       August     Exchange of bitcoin for        23 ,046.13     $1 7,680.99
            SINGH          24,2018    Canadian currency              Canadian
            KHATKAR                                                  Dollars

       All in violation of 18 U. S.C. § 1957.

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                             FIRST FORFEITURE ALLEGATION

        Upon conviction of the offense alleged in Counts 1 through 6 ofthis Indictment,

defendants KARANJIT SINGH KHATKAR and JAGROOP SINGH KHATKAR shall

forfeit to the United States pursuant to 18 U.S .C. § 982(a)(2)(A), any property constituting, and

derived from, proceeds defendants obtained directly and indirectly, as the result of such

violation.

                           SECOND FORFEITURE ALLEGATION

        Upon conviction of the offenses alleged in Counts 10 through 16 of this Indictment,

defendants KARANJIT SINGH KHATKAR and JAGROOP SINGH KHATKAR shall

forfeit to the United States pursuant to 18 U.S.C. § 982(a)(l), all property, real or personal,

involved in the money laundering offenses and all property traceable to such property, including

but not limited to a money judgment for a sum of money equal to the amount of property

involved in the money laundering as alleged in Counts 10-16.

                                     SUBSTITUTE ASSETS

        If any of the above-described forfeitable property listed in Counts 1 through 5 and 10

through 16 of this Indictment, as a result of any act or omission of the defendants:

        (a) cannot be located upon the exercise of due diligence;

        (b) has been transferred or sold to, or deposited with, a third party;

        (c) has been placed beyond the jurisdiction of the court;

        (d) has been substantially diminished in value; or

        (e) has been commingled with other property which cannot be divided without difficulty;




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it is the intent of the United States, pursuant to 21 U.S .C. § 853(p) as incorporated by 18 U.S.C.

§ 982(b ), to seek forfeiture of any other property of said defendants up to the value of the

forfeitable property described in these forfeiture allegations.


Dated this July ~    , 2019.                           A TRUE BILL.




Presented by:

BILLY J. WILLIAMS
United States Attorney



   INN P. HARRINGTON, OSB #083544
Assistant United States Attorney




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